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Litigation Trustee

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------- X

                                                         :
                                                              Chapter 11
In re:                                                   :
                                                              Case No. 18-13359 (SHL)
MIAMI METALS I, INC., et al.,1
                                                         :
                 Debtors.
                                                         :

-------------------------------------- X

    AMENDED NOTICE OF AGENDA FOR MATTERS SCHEDULED FOR REMOTE
              HEARING ON FEBRUARY 10, 2022 AT 10:00 A.M.




1
  The sole remaining Debtor in this chapter 11 case is Miami Metals I, Inc. (f/k/a Republic Metals Refining
Corporation), 15 West 47th Street, Suites 206 and 209, New York, NY 10036 (last four digits of federal tax
identification number: 3194). The cases for the prior Debtors were closed on April 3, 2020 pursuant to the Final
Decree (I) Closing Subsidiary Cases and (II) Granting Related Relief (the “Subsidiary Final Decree”) [ECF No. 1746].
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Time and Date of Hearing:
                              February 10, 2022 at 10:00 a.m. (Prevailing Eastern Time)



Location of Hearing:
                              United States Bankruptcy Court for the Southern District of New
                              York, before the Honorable Sean H. Lane, United States Bankruptcy
                              Judge. The hearing will be conducted remotely via Zoom for
                              Government (Zoomgov), and arrangements to attend can be made
                              through the Court’s website:
                              https://www.nysb.uscourts.gov/ecourt-appearances.

        PLEASE TAKE FURTHER NOTICE that an agenda with respect to all matters set for
remote hearing on February 10 at 10:00 a.m. (EST) is set forth below. Copies of each pleading
identified below can be viewed and/or obtained by: (i) accessing the Court’s website at
www.nysb.uscourts.gov, (ii) contacting the Office of the Clerk of Court at One Bowling Green,
New York, New York 10004, or (iii) from the Debtors’ claims and noticing agent, Donlin Recano
(“Donlin”), at www.donlinrecano.com/republicmetals. Note that a PACER password is required
to access documents on the Court’s website.

                                           AGENDA

A.     CONTESTED MATTERS

      1.     Motion of Litigation Trustee for Approval of Settlement and Compromise
Pursuant to Federal Rule of Bankruptcy Procedure 9019 [ECF No. 2045]

       a. Response Deadline: February 3, 2022 at 5:00 pm (Prevailing Eastern Time)

       b. Responses:
                   Objection to Motion filed by Mitchell Levine, Erie Management Partners, LLC,
                    and Plat/Co. [ECF No. 2056]
                   Limited Objection to Motion filed by SCMI US Inc. [ECF No. 2057]
                   Withdrawal of Limited Objection filed by SCMI US Inc. [ECF No. 2060]
       c. Related Documents:
                   Notice of Hearing [ECF No. 2045]
                   Reply Memorandum in Further Support of Motion [ECF No. 2058]
       d. Status: This matter is going forward.
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Dated: February 9, 2022
New York, New York
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